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                United States Court of Appeals
                     for the Sixth Circuit


United States of America,
                 Plaintiff-Appellee.

     v.                                                      No. 23-3265

William Hitchings V.,
                 Defendant-Appellant.



    Plaintiff-Appellee’s Motion to Extend Briefing Schedule


     Plaintiff-Appellee United States of America moves the Court to

extend the briefing schedule in this case by thirty days. An additional

thirty days is needed for counsel to complete a review of the district

court record and respond to the issues raised in the appellant’s brief.

Defendant-Appellant Hitchings pled guilty and was sentenced to 120

months in prison. This is the first request for an extension of time by

the United States.
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      For these reasons, the United States asks the Court to grant this

motion and extend the due date for the appellee’s brief by thirty days.


                                          Respectfully submitted,

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                                          United States Attorney

                                          /s/ Christina E. Mahy
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                           Certificate of Service


      I certify that a copy of the foregoing Plaintiff-Appellee’s Motion for

Extension of Briefing Schedule was filed with the Court’s CM/ECF sys-

tem this 8th day of September, 2023, which provides electronic service

to all parties.

                                          /s/ Christina E. Mahy
                                          CHRISTINA E. MAHY
                                          Assistant United States Attorney
